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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          BROWNSVILLE DIVISION

 STATE OF TEXAS, et al.,                            )
                                                    )
                                        Plaintiffs, )
                                                    )
 v.                                                 )      Case No. 1:18-cv-00068
                                                    )
 UNITED STATES OF AMERICA, et al.,                  )
                                                    )
                                      Defendants, )
                                                    )
 and                                                )
                                                    )
 KARLA PEREZ, et al.,                               )
                                                    )
 STATE OF NEW JERSEY,                               )
                                                    )
                            Defendant-Intervenors. )

PLAINTIFF STATES’ EMERGENCY MOTION TO ENFORCE JULY 2, 2018
   ORDER AND QUASH SUBPOENA TO THE PRESIDENT OF THE
NATIONAL CITIZENSHIP AND IMMIGRATION COUNCIL OF THE AFGE,
                          AFL-CIO

                            STATEMENT OF THE ISSUE

      Whether Defendant-Intervenors can depose the union president of the

National Citizenship and Immigration Council of the AFGE, AFL-CIO without first

being granted leave to do so in violation of this Court’s July 2, 2018 Order (ECF No.

116) and despite not including the union president on Defendant-Intervenors’ timely

disclosed witness list.

                           SUMMARY OF THE ARGUMENT

      On July 2, 2018, this Court entered an Order allowing the parties to subpoena

a representative from the USCIS union but ordered that the deposition will not occur


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unless the Court grants leave for it to take place. The Court ordered that Defendant-

Intervenors must first file a motion with the Court indicating “with specificity why

the desired testimony is helpful to their case and not adequately covered by the

Federal Defendants’ interrogatory answers.” On July 10, Defendant-Intervenors

served a subpoena on Michael Knowles, who is purported to be the president of the

USCIS union. The subpoena requires Mr. Knowles’s attendance at a deposition in

Washington, D.C. this Friday, July 13. Defendant-Intervenors have not been granted

leave by this Court to take the deposition and have not explained why Mr. Knowles’s

testimony is helpful or not covered by the Federal Defendants’ interrogatory

responses.

      Additionally, Defendant-Intervenors did not include Mr. Knowles on their list

of fact witnesses, which the parties agreed to exchange on June 8, 2018. Defendant-

Intervenors have likewise not explained why their failure to timely disclose Mr.

Knowles should be excused.

                                    ARGUMENT

      At this juncture, the Court has allowed limited expedited discovery for

purposes of the preliminary injunction hearing. District courts within the Fifth

Circuit typically adopt a “good cause” standard in evaluating requests for expedited

discovery. See, e.g., St. Louis Grp., Inc. v. Metals & Additives Corp., 275 F.R.D. 236,

240 (S.D. Tex. 2011) (citing El Pollo Loco, S.A. de C.V. v. El Pollo Loco, Inc., 344 F.

Supp. 2d 986, 991 (S.D. Tex. 2004)). In a “good cause” analysis, courts examine the

discovery request “on the entirety of the record to date and the reasonableness of the



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request in light of all the surrounding circumstances.” St. Louis Grp., Inc. 275 F.R.D.

at 239 (citations omitted). Accordingly, the scope of discovery at this phase in the case

is narrower than that typically provided under Rule 26.

       In managing the expedited discovery period, the Court has allowed the parties

to serve a subpoena on a representative of the USCIS union. July 2, 2018 Order ¶ 3

(ECF No. 116). However, the Court has required the requesting party to first obtain

leave to conduct the deposition before it goes forward. Id. To do so, the requesting

party must “indicate with specificity why the desired testimony is helpful to their

case and not adequately covered by the Federal Defendants’ interrogatory answers.”

Id. ¶ 2.

       On July 10, Defendant-Intervenors served Mr. Knowles with a subpoena to

testify at a deposition on July 13 in Washington D.C.. Exh. A. Mr. Knowles is

purported to be the president of the National Citizenship and Immigration Council of

the AFGE, AFL-CIO, the union for USCIS employees, and presumably a current

employee of the federal government. Id.

       Less than 48 hours before the scheduled start of the deposition, Defendant-

Intervenors still have not moved for leave to take the deposition. And Defendant-

Intervenors still have not explained why Mr. Knowles’s testimony is helpful or why

his testimony is not adequately covered by the Federal Defendants’ interrogatory

answers. Exh. B. As Plaintiff States have explained, the lack of discretion exercised

by USCIS in granting DACA applications cannot be seriously disputed. See, e.g., ECF

No. 94; ECF No. 90.



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      Additionally, Defendant-Intervenors did not include Mr. Knowles (or anyone

else from the National Citizenship and Immigration Council) on their witness list

that the parties agreed to exchange on June 8. See ECF No. 105-1; Exh. C. Defendant-

Intervenors have not explained why their failure to timely disclose Mr. Knowles as a

witness should be excused.

                                 CONCLUSION
      Plaintiff States respectfully request that the Court enforce its July 2, 2018

Order and quash the deposition subpoena of Mr. Knowles.




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July 11, 2018                        Respectfully Submitted.

STEVE MARSHALL                       KEN PAXTON
Attorney General of Alabama          Attorney General of Texas

LESLIE RUTLEDGE                      JEFFREY C. MATEER
Attorney General of Arkansas         First Assistant Attorney General

JEFF LANDRY                          BRANTLEY STARR
Attorney General of Louisiana        Deputy First Assistant Attorney General

DOUGLAS J. PETERSON                  JAMES E. DAVIS
Attorney General of Nebraska         Deputy Attorney General for Civil Litigation

ALAN WILSON                           /s/Todd Lawrence Disher
Attorney General of South Carolina   TODD LAWRENCE DISHER
                                     Attorney-in-Charge
PATRICK MORRISEY                     Special Counsel for Civil Litigation
Attorney General of West Virginia    Tx. State Bar No. 24081854
                                     Southern District of Texas No. 2985472
                                     Tel.: (512) 463-2100; Fax: (512) 936-0545
                                     todd.disher@oag.texas.gov
                                     P.O. Box 12548
                                     Austin, Texas 78711-2548

                                     ADAM ARTHUR BIGGS
                                     Special Counsel for Civil Litigation
                                     Tx. State Bar No. 24077727

                                     ADAM N. BITTER
                                     Assistant Attorney General
                                     Tx. State Bar No. 24085070


                                     COUNSEL FOR PLAINTIFF STATES




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                           CERTIFICATE OF SERVICE

        I certify that on July 11, 2018, this document was electronically filed with the
Clerk of the Court using the CM/ECF system, which will send notification of such
filing to all counsel of record.

                                           /s/ Todd Lawrence Disher
                                           TODD LAWRENCE DISHER
                                           Special Counsel for Civil Litigation

                                           COUNSEL FOR PLAINTIFF STATES




                        CERTIFICATE OF CONFERENCE

      I certify that I asked the parties for their position on this motion. Defendant-
Intervenors oppose, the Federal Defendants do not oppose, and New Jersey has not
responded.

                                           /s/ Todd Lawrence Disher
                                           TODD LAWRENCE DISHER
                                           Special Counsel for Civil Litigation

                                           COUNSEL FOR PLAINTIFF STATES




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